
Judgment, Supreme Court, Bronx County (Yvonne Gonzalez, J.), entered March 22, 2007, dismissing the complaint, and bringing up for review an order, same court and Justice, entered June 16, 2006, which granted defendants’ motion for summary judgment, unanimously affirmed, without costs.
Defendants established their entitlement to summary judgment in this negligence action by submitting evidence that they had no notice of the condition in the building’s elevator alleged to have caused plaintiffs fall, and her opposition failed to create any material issue of fact (see Dennis v Bartow Stationery, 28 AD3d 238 [2006]; Tejeda v Six Ten Mgt. Corp., 15 AD3d 265 [2005]). Although plaintiffs bill of particulars alleged that water accumulated in the elevator cab “constantly on weekends,” she neither informed defendants of the alleged hazardous condition nor produced evidence to raise a factual question as to whether they had received notice from any other source (compare Siciliano v Garden of Eden, Inc., 12 AD3d 319 [2004], with Giuffrida v Metro N. Commuter R.R. Co., 279 AD2d 403 [2001]). Nor did plaintiff provide evidence as to the cause of the condition or how long it had existed prior to her accident to demonstrate constructive notice, and thus she has failed to make out a prima facie case of negligence (see Segretti v Shorenstein Co., E., 256 AD2d 234, 235 [1998]). Concur—Tom, J.P., Moskowitz, Acosta and Freedman, JJ.
